               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

AMY BRYANT, M.D., M.S.C.R.; BEVERLY
GRAY, M.D.; ELIZABETH DEANS, M.D., on
behalf of themselves and their patients
seeking abortions; and PLANNED               Case No. 1:16-cv-01368-WO-
PARENTHOOD SOUTH ATLANTIC, on                LPA
behalf of itself, its staff and its patients
seeking abortions,
                Plaintiff,
     v.
JIM WOODALL, in his official capacity as
District Attorney (“DA”) for Prosecutorial
District (“PD”) 15B; ROGER ECHOLS, in
his official capacity as DA for PD 14;
ELEANOR E. GREENE, M.D., M.P.H., in
her official capacity as President of the
North Carolina Medical Board; RICH
BRAJER, in his official capacity as
Secretary of the North Carolina
Department of Health and Human
Services; and their employees, agents,
and successors,
               Defendants,



  AMICI BRIEF OF THE HONORABLE PHILIP E. BERGER, IN HIS OFFICIAL
CAPACITY AS PRESIDENT PRO TEMPORE OF THE NORTH CAROLINA SENATE,
 AND THE HONORABLE TIMOTHY K. MOORE, IN HIS OFFICIAL CAPACITY AS
   SPEAKER OF THE NORTH CAROLINA HOUSE OF REPRESENTATIVES, IN
           SUPPORT OF GRANTING RELIEF FROM JUDGMENT




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      Philip E. Berger, in his official capacity as President Pro Tempore of the
North Carolina Senate, and Timothy K. Moore, in his official capacity as

Speaker of the North Carolina House of Representatives, on behalf of the

General Assembly and as agents of the State, hereby appear by leave of Court
as amici curiae in support of Defendants and respectfully request that the

Court modify and vacate its orders enjoining North Carolina Gen. Stat. §§ 14-

45.1(a), 14-44, and 14-45, which together protect unborn life after twenty

weeks.1
                               INTRODUCTION
      Each year in North Carolina, abortion procedures end the lives of an

estimated 25,000 to 30,000 unborn persons.2 Although North Carolina law

protects unborn persons from abortion procedures after 20 weeks of pregnancy,
under now-overruled precedent, those laws are enjoined by this Court. Each

day that the laws remain enjoined is a day that the State’s legitimate interests

in preserving life are undermined.

      On June 24, 2022, in a landmark decision, the Supreme Court held that

the United States Constitution does not include a right to abortion within its

guarantees of liberty or due process. Dobbs v. Jackson Women’s Health Org.,
142 S. Ct. 2228 (2022). The Supreme Court expressly overruled Roe v. Wade,

1 The Court’s Amici state that no party’s counsel authored the brief in whole or
in part; no party or a party’s counsel contributed money that was intended to
fund preparing or submitting the brief; and no person—other than the amici
curiae, their members, or their counsel—contributed money that was intended
to fund preparing or submitting the brief.
2 State Facts About Abortion: North Carolina, Guttmacher Institute,

https://www.guttmacher.org/fact-sheet/state-facts-about-abortion-north-
carolina (last visited July 19, 2022).

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410 U.S. 113 (1973), and Planned Parenthood of Southeastern Pennsylvania v.
Casey, 505 U.S. 833 (1992), which together formed the basis for the Court’s

injunction in this case.

      The Supreme Court in Dobbs clarified that laws protecting unborn life
are entitled to great deference: “A law regulating abortion, like other health

and welfare laws, is entitled to a strong presumption of validity.” Id. at 2284

(quoting Heller v. Doe, 509 U.S. 312, 319 (1993)). Such laws “must be sustained

if there is a rational basis on which the legislature could have thought that it

would serve legitimate state interests.” Id. And States’ “legitimate interests”

in limiting elective abortion are numerous—“includ[ing] respect for and
preservation of prenatal life at all stages of development, the protection of

maternal health and safety; the elimination of particularly gruesome or

barbaric medical procedures; the preservation of the integrity of the medical

profession; the mitigation of fetal pain; and the prevention of discrimination

on the basis of race, sex, or disability.” Id. (internal citation omitted).

      Four separate times, the Supreme Court emphasized that the issue of

abortion must be returned to the “people and their elected representatives.” Id.

at 2259, 2279, 2284. Through their elected representatives, the people of North

Carolina enacted laws to advance legitimate interests by limiting abortions

after 20 weeks of pregnancy. Before Dobbs, this Court felt compelled to enjoin

enforcement of these laws under Roe and Casey, to the extent the statutes

prohibit “pre-viability abortions.” ECF No. 84, 90. But that precedent is no
more. As the Supreme Court recently affirmed, “[t]he Constitution does not

prohibit the citizens of each State from regulating or prohibiting abortion. Roe


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and Casey arrogated that authority. We now overrule those decisions and
return that authority to the people and their elected representatives.” Dobbs,

142 S. Ct. at 2284. Thus, as this Court suggested in its July 8, 2022, order for

supplemental briefing, the basis for its prior injunction no longer exists
because Roe and Casey are overruled. ECF No. 109.

      On June 24, 2022, the General Assembly requested the Attorney

General’s position on vacating the injunction. After stalling for almost a month,

the Attorney General announced on July 21, 2022, that despite the Supreme

Court’s clear holding in Dobbs, he will not to discharge his sworn duty to defend

North Carolina law, see N.C. Gen. Stat. § 114-2(1), and will not move to vacate
the injunction. The General Assembly therefore submits this brief as amici to

answer the question posed by the Court in its July 8 order: the injunction based

on Roe and Casey should be lifted and the prior judgment vacated because

there no longer exists a basis in law to maintain either.

                                BACKGROUND

A.    North Carolina laws protect unborn children from abortion after
      20 weeks’ gestation.
      For over a century, the people of North Carolina—through their elected
representatives—enacted laws protecting unborn children and pregnant

mothers from the harms of abortion. See N.C. Gen. Stat. § 14-44 (“If any person

shall willfully administer to any woman, either pregnant or quick with child,
or prescribe for any such woman, or advise or procure any such woman to take

any medicine, drug or other substance whatever, or shall use or employ any

instrument or other means with intent thereby to destroy such child, he shall


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be punished as a Class H felon”); id. § 14-45 (“If any person shall administer
to any pregnant woman, or prescribe for any such woman, or advise and

procure such woman to take any medicine, drug or anything whatsoever, with

intent thereby to procure the miscarriage of such woman, or to injure or destroy
such woman, or shall use any instrument or application for any of the above

purposes, he shall be punished as a Class I felon”).

      Following Roe, the General Assembly enacted a companion statute that

allowed abortion after 20 weeks’ gestation: “[n]otwithstanding any of the

provisions of G.S. 14-44 and 14-45, it shall not be unlawful, during the first 20

weeks of a woman's pregnancy, to advise, procure, or cause a miscarriage or
abortion when the procedure is performed by a qualified physician licensed to

practice medicine in North Carolina in a hospital or clinic certified by the

Department of Health and Human Services to be a suitable facility for the

performance of abortions.” N.C. Gen. Stat. § 14-45.1(a). Taken together, §§ 14-

45.1(a), 14-44, and 14-45 prohibit doctors from performing abortions after 20

weeks’ gestation absent a medical emergency as defined by the statutes.

B.    North Carolina statutes were enjoined under Roe and Casey, but
      those precedents are now overruled.
      Plaintiffs initiated this action in 2016, challenging the constitutionality

of North Carolina’s 20-week law under the Roe and Casey. ECF No. 1. This
Court eventually granted Defendants’ motion for summary judgment, ordering

declaratory and injunctive relief because Roe and Casey did not allow states to

prohibit abortion before viability. ECF No. 84; Bryant v. Woodall, 363 F. Supp.
3d 611, 629–32 (M.D.N.C. 2019). The Court’s initial decision only enjoined



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enforcement of § 14-45.1, but following a motion for clarification, the Court
issued a judgment expanding the injunction to §§ 14-45.1(a), 14-44, and 14-45,

to the extent that § 14-45.1(a), in conjunction with §§ 14-44 and 14-45,

prohibits any pre-viability abortions. ECF No. 90, 91. The judgment specified
that “[f]or purposes of this order, the word ‘viability’ shall be defined by

reference to Supreme Court precedent.” ECF No. 91 (quoting Casey with an

internal reference to Roe). On appeal, North Carolina challenged only this

Court’s ruling on standing, which the Fourth Circuit affirmed. Bryant v.

Woodall, 1 F.4th 280, 289 (4th Cir. 2021).

      This Court’s reasoning and decision rested on the Supreme Court’s
“viability rule” set out in Casey, which erroneously held that states cannot

protect life in a way that places an “undue burden” on the ability to obtain an

abortion before viability—or around 22 weeks’ gestation. 505 U.S. at 860

(affirming the “central holding” of Roe v. Wade, 410 U.S. 113 (1973)); Bryant,

363 F. Supp. 3d at 630–31; ECF 91 (enjoining the statutes to the extent that

they prohibit abortion prior to “viability” as defined in Roe and Casey).

      But in Dobbs, upholding Mississippi’s 15-week limit on abortion, the

Supreme Court held that those precedents were wrongly decided: “[T]he

Constitution does not confer a right to abortion. Roe and Casey must be

overruled, and the authority to regulate abortion must be returned to the

people and their elected representatives.” Dobbs, 142 S. Ct. at 2279. In light of

Dobbs, there remains no basis in law or equity for this Court to maintain the
injunction against enforcement of §§ 14-45.1(a), 14-44, and 14-45. These laws

together prohibit elective abortions after 20 weeks’ gestation, a health-and-


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safety regulation that is entitled to presumption of validity and which easily
satisfies rational basis scrutiny.

                                     ARGUMENT
      The answer to the Court’s question in its July 8, 2022, request for

supplemental briefing is simple: the current injunction is now contrary to law

and should not be permitted to retain any legal force or effect. Whether or not

the current parties act, this Court has the authority to modify and vacate its

injunction in the interest of justice. Justice requires that the injunction be

lifted and the judgment vacated.

I.    The Court should vacate the orders and judgment enjoining
      enforcement of North Carolina statutes protecting unborn life.
      The injunction was based upon overruled precedent, and it is not
      just or equitable to apply it prospectively.
      District courts have inherent power to vacate injunctions, even after

final judgment. Thompson v. U.S. Dep’t of Housing & Urban Dev., 404 F.3d
821, 825 (4th Cir. 2005) (“It has long been recognized that courts are vested

with the inherent power to modify injunctions they have issued”); see also id.

at 826 (“The proposition that a court has the authority to alter the prospective
effect of an injunction in light of changes in the law or the circumstances is, of

course, well established.”) (quoting Benjamin v. Jacobson, 172 F.3d 144, 161

(2d Cir. 1999)). This “[C]ourt’s ability to modify or terminate an injunction
post-judgment simply expresses the inherent power possessed by courts of

equity to modify or vacate their decrees as events may shape the need.” Hudson

v. Pittsylvania Cty., Va., 774 F.3d 231, 234 (4th Cir. 2014) (citing Holiday Inns,
Inc. v. Holiday Inn, 645 F.2d 239, 244 (4th Cir. 1981)) (cleaned up).


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      The Court’s inherent power to vacate injunctions is reflected and codified
in Rule 60(b)(5), which provides that “the court may relieve a party or its legal

representative from a final judgment, order, or proceeding” when “applying it

prospectively is no longer equitable.” Fed. R. Civ. P. 60(b)(5); see Thompson,
404 F.3d at 826 (“The court’s inherent authority to modify . . . [an] injunction

is now encompassed in Rule 60(b)(5) of the Federal Rules of Civil Procedure”).

But Rule 60(b)(5) does not replace or nullify the Court’s pre-existing power.

“Though codified by rule, [Rule 60(b)] simply expresses the inherent power, not

dependent upon rule, possessed by courts of equity to modify or vacate their

decrees as events may shape the need.” Holiday Inns, 645 F.2d at 244 (Phillips,
J., dissenting) (quoting United States v. Swift & Co., 286 U.S. 106, 114 (1932)).

      Relief from an order or judgment under Rule 60(b) often follows a motion,

but the Court can exercise its fundamental powers underlying that rule sua

sponte. “The rule says that the court is to act ‘on motion’ and this is the usual

procedure. However the court has power to act in the interest of justice in an

unusual case in which its attention has been directed to the necessity for relief

by means other than a motion.” Wright & Miller, 11 Fed. Prac. & Proc. Civ.

§ 2865 (3d ed. 2022); United States v. Jacobs, 298 F.2d 469, 472 (4th Cir. 1961)

(noting that courts typically grant relief “on motion and upon such terms as

are just,” but stating that Rule 60(b)(5) “need not necessarily be read as

depriving the court of the power to act in the interest of justice in an unusual

case in which its attention has been directed to the necessity for relief by means
other than a motion”); Fort Knox Music Inc. v. Baptiste, 257 F.3d 108, 110–11

(2d Cir. 2001) (holding that “there can be no question” that a district court had


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power to vacate an injunction without a motion, and “[w]hile normally relief
under Rule 60(b) is sought by motion . . . nothing forbids the court to grant

such relief sua sponte.”); Kingvision Pay-Per-View Ltd. v. Lake Alice Bar, 168

F.3d 347, 352 (9th Cir. 1999) (holding that a court may grant relief under Rule
60(b) sua sponte); Ransom v. Nationstar Mortgage, LLC, No. PX 15-1647, 2016

WL 7474533, at *1–2 (D. Md. Dec. 29, 2016) (granting sua sponte relief from a

prior court order, explaining that “[w]hile normally such relief is sought by the

motion of a party,” “nothing forbids the court to grant such relief sua sponte”).

      Whether contemplated under Rule 60(b)(5) or under the Court’s inherent

powers underlying that rule, the Supreme Court has recognized that vacatur
of an injunction is appropriate following a significant change in decisional law.

See Agostini v. Felton, 521 U.S. 203 (1997); see also Horne v. Flores, 557 U.S.

433, 447 (2009). In Agostini, the Supreme Court had previously held that a

school program violated the Establishment Clause. 521 U.S. at 208 (citing

Aguilar v. Felton, 473 U.S. 401 (1985)). Twelve years later, the enjoined parties

filed a motion under Rule 60(b)(5), arguing that it was no longer equitable to

enjoin the policy because the Court’s intervening Establishment Clause

decisions had undermined Aguilar to the point that it was no longer good law.

Id. at 217–18. The Supreme Court held that “it is appropriate to grant a Rule

60(b)(5) motion when the party seeking relief from an injunction or consent

decree can show a significant change either in factual conditions or in law.” Id.

at 215 (internal quotation marks omitted). Not only may “[a] court . . . recognize
subsequent changes in either statutory or decisional law,” a “court errs when

it refuses to modify an injunction or consent decree in light of such changes.”


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Id. (citations omitted). The Supreme Court then analyzed its intervening
precedents, agreed that Aguilar was no longer good law, and vacated the

injunction that was based on overruled precedent. Id. at 235.

      The Fourth Circuit has also recognized that a significant change in
decisional law warrants vacatur of an injunction. See Valero Terrestrial Corp.

v. Paige, 211 F.3d 112, 122 (4th Cir. 2000) (quoting Agostini to hold that

“vacatur of an injunction under Rule 60(b)(5) . . . is required when there has

been a significant change either in factual conditions or law”); cf. L.J. v.

Wilbon, 633 F.3d 297, 304–05 (4th Cir. 2011) (noting that a significant change

in decisional law may support vacatur of an injunction under Rule 60(b)(5), but
finding that no such change had occurred in that case).

      Here, as in Agostini, it is not equitable to prospectively apply the

injunction because it was based entirely upon Supreme Court precedent that

is “no longer good law.” 521 U.S. at 235. The “essential holding” in Roe—as

affirmed in Casey—was that a state’s interests are not strong enough to

support protecting unborn children from abortion before viability. Casey, 505

U.S. at 860. This Court identified Casey’s viability rule as the central test in

evaluating North Carolina’s abortion laws. Bryant, 363 F. Supp. 3d at 630

(“Casey is quite clear on this point: no matter what the state’s legitimate

interest in restricting abortion, this interest can never support an outright ban

prior to viability”). Indeed, this Court held that under the Roe and Casey

regime, “[t]he only fact material to Plaintiffs’ claim is whether N.C. Gen. Stat.
§ 14-45.1 (a) and related statutes prohibit any pre-viability abortions.” Id. at

629. Because §§ 14-45.1(a), 14-44, and 14-45 together prohibit abortion after


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20 weeks—prior to viability—the Court held that “Casey’s clear dictate”
compelled injunctive relief. See id. at 630; see also ECF No. 91 (incorporating

Casey’s viability standard into the judgment enjoining the North Carolina

laws).
         But Dobbs overruled Roe and Casey, discarding the viability standard

and rejecting the so-called right to abortion that they had manufactured.

Because this Court’s injunction relied extensively and exclusively upon the

now-defunct “viability rule” articulated in Casey, it is unjust to apply the

injunction prospectively. Cf. SisterSong Women of Color Reprod. Just.

Collective v. Governor of Ga., No. 20-13024, 2022 WL 2824904, at *1 (11th Cir.
July 20, 2022) (applying Dobbs and vacating permanent injunction placed on

Georgia’s prohibition on abortions after detectable human heartbeat).

         North Carolina’s abortion statutes are undeniably lawful under Dobbs,

and there is no longer any basis for an injunction to shackle the state from

pursuing its legitimate interests. North Carolina’s laws “regulating abortion,

like other health and welfare laws, [are] entitled to a ‘strong presumption of

validity.’” See Dobbs, 142 S. Ct. at 2284 (citation omitted). Indeed, North

Carolina’s laws “must be sustained if there is a rational basis on which the

legislature could have thought that it would serve legitimate state interests.”

See id. These “legitimate interests” in abortion regulations “include respect for

and preservation of prenatal life at all stages of development, the protection of

maternal health and safety; the elimination of particularly gruesome or
barbaric medical procedures; the preservation of the integrity of the medical

profession; the mitigation of fetal pain; and the prevention of discrimination


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on the basis of race, sex, or disability.” Id. (citation omitted). North Carolina’s
law advances all of these interests by limiting abortion-on-demand after 20

weeks’ gestation. For the same reasons the Supreme Court upheld

Mississippi’s 15-week law in Dobbs, North Carolina’s 20-week law is
constitutional.

       The Court should exercise its inherent power to vacate the injunction

and judgment, following the Supreme Court’s emphatic instruction to return

the issue of abortion to the “people and their elected representatives.” Id. at

2259, 2279, 2284.

II.    If this Court is not inclined to vacate the injunction sua sponte
       yet no party will defend the laws, the Court should allow amici
       an opportunity to intervene to file a Rule 60(b)(5) motion.
       As explained above, it is neither equitable nor just to maintain the

current injunction, and this Court has inherent power to vacate the injunction

sua sponte, without a formal motion under Rule 60(b). But if this Court is not

inclined to act without a motion, and if Defendants’ legal representative

through the Department of Justice refuses to discharge the Attorney General’s

sworn duty to defend the state’s laws by moving to vacate the injunction, this

Court should allow amici an opportunity to intervene for the purpose of filing

a motion under Rule 60(b)(5).

       The General Assembly has significantly protectable interests in the
subject matter of this action; and the resolution of this suit, if Plaintiffs prevail,

will impair those interests and the General Assembly’s ability to protect them.

The General Assembly has both an interest in defending the constitutionality



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of its laws and the legal authority to do so. Specifically, “[t]he Speaker of the
House of Representatives and the President Pro Tempore of the Senate, as

agents of the State, by and through counsel of their choice, including private

counsel, shall jointly have standing to intervene on behalf of the General
Assembly as a party in any judicial proceeding challenging a North Carolina

statute . . . .” N.C. Gen. Stat. § 1-72.2.

      On June 23, 2022, one day before the Supreme Court decided Dobbs, it

issued an opinion in favor of Proposed-Intervenors in Berger v. North Carolina

State Conference of the NAACP, 142 S. Ct. 2191, 2203 (2022), granting the same

proposed-amici in this matter intervention to defend the constitutionality of
another North Carolina statute because proposed-intervenors are the state’s

statutorily authorized agents. Simply put, “North Carolina has expressly

authorized the legislative leaders to defend the State’s practical interests in

litigation” involving the constitutionality of state laws. Id. at 2202.

      Sadly, all indicators suggest that Defendants will fail to defend North

Carolina’s permissible and constitutional laws by refusing to move to vacate

the injunction currently preventing their enforcement. On July 21, 2022, the

Attorney General—who represents the existing Defendants—issued a press

release and other public statements telling North Carolinians that he will not

move to lift the injunction in this case, despite the Supreme Court’s decision in

Dobbs making clear that the injunction is erroneous as a matter of law.3 If the

3 Press Release, Josh Stein, Attorney General Josh Stein Will Not Ask Court to
Limit Women’s Freedom (July 21, 2022), https://ncdoj.gov/attorney-general-
josh-stein-will-not-ask-court-to-limit-womens-freedom/; see also @JoshStein_,


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Attorney General will not act, amici will. Through this brief (or by moving to
intervene if necessary), the legislative leaders “give voice to a different

perspective” than the Attorney General because they “are not burdened by

misgivings about the law’s wisdom” and “will focus on defending the law
vigorously on the merits.” Id. at 2205.

      In short, the existing Defendants’ legal representative publicly opposes

the statutes he is tasked with defending. On the other hand, the General

Assembly offers this vigorous defense of the law and Dobbs’ application to the

current injunction. Justice requires no less for defending laws duly enacted by

the elected representatives of the people. Thus, if the Court is not inclined to
vacate the injunction sua sponte, the General Assembly would welcome the

Court’s invitation to intervene and file a Rule 60(b)(5) motion to ensure that

the people of North Carolina’s interests are adequately represented.

                                 CONCLUSION
      For these reasons, the Court should vacate all orders and judgments in

this case which enjoin or declare unlawful North Carolina’s pro-life statutes.




Twitter (July 21, 2022, 10:29 AM ), https://twitter.com/JoshStein_/status/
1550125817639735296?s=20 (“The NC Department of Justice will not move to
have the injunction lifted in Bryant v. Woodall. My office will not take action
that would restrict women’s ability to make their own reproductive health care
decisions.”).

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   Respectfully submitted this 27th day of July, 2022.


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                            CERTIFICATE OF SERVICE
      I hereby certify that on July 27, 2022, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record.

                                              /s/ Anthony Biller
                                              Anthony Biller
                                              Counsel for Amici




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                      CERTIFICATE OF COMPLIANCE
     I hereby certify that the foregoing brief contains 3,619 words and was

prepared in compliance with the requirements of LR7.3.


                                         /s/ Anthony Biller
                                         Anthony Biller
                                         Counsel for Amici




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